    22-10842-dsj         Doc 2    Filed 06/23/22 Entered 06/23/22 10:08:24                 Summons to Debtor
                                            in Involunta Pg 1 of 1
                               UNITED STATES BANKRUPTCY COURT
                                    Southern District of New York
In re:                                                                             Bankruptcy Case No.: 22−10842−dsj
Credito Real, S.A.B. de C.V., SOFOM, E.N.R.

Debtor*                                                                                                  CHAPTER: 11

Social Security No.:
Taxpayer ID/Employer ID/Other Nos.: 00−0000000




                         SUMMONS TO DEBTOR IN INVOLUNTARY CASE
To the above−named debtor:

A petition under title 11, United States Code was filed against you on 6/22/22 in this Bankruptcy Court, requesting an
order for relief under Chapter 11 of the Bankruptcy Code (title 11 of the United States Code.)

YOU ARE SUMMONED and required to submit to the Clerk of the Bankruptcy Court, a motion or answer (attorneys
should file online) to the petition within 21 days after the service of this summons. A copy of the petition is attached.


Address of Clerk:
                                 United States Bankruptcy Court
                                 Southern District of New York
                                 One Bowling Green
                                 New York, NY 10004−1408
                                 www.nysb.uscourts.gov

At the same time, you must also serve a copy of the motion or answer upon the petitioner's attorney.


Name and Address of
Petitioner's Attorney:
                                 David H Botter
                                 Akin Gump Strauss Hauer & Feld LLP
                                 One Bryant Park
                                 New York, NY 10036

If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 1011(c).
If you fail to respond to this Summons, an order for relief will be entered.


                                                            Vito Genna

                                                            Clerk of the Court

Dated: 6/23/22                                              By: /s/ Jonathan Ramos

                                                            Deputy Clerk

*Set forth all names, including trade names, used by the debtor within the last 8 years. (Federal Rule of Bankruptcy
Procedure 1005). For joint debtors, set forth both social security numbers.
